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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


LEVI DWIGHT STOKES,                       )
                                          )
                         PLAINTIFF        )
                                          )
V.                                        )       CIVIL NO. 1:20-CV-121-DBH
                                          )
PENOBSCOT COUNTY JAIL,         ET AL.,    )
                                          )
                         DEFENDANTS       )


                ORDER AFFIRMING RECOMMENDED DECISION
                       OF THE MAGISTRATE JUDGE


      On November 30, 2020, the United States Magistrate Judge filed with the
court, with copies to the parties, his Recommended Decision on Motion to
Dismiss.     The plaintiff filed an objection to the Recommended Decision on
December 11, 2020, and the defendant Med Pro filed its response to the objection
on December 28, 2020.      I have reviewed and considered the Recommended
Decision, together with the entire record; I have made a de novo determination
of all matters adjudicated by the Recommended Decision; and I concur with the
recommendations of the United States Magistrate Judge for the reasons set forth
in the Recommended Decision, and determine that no further proceeding is
necessary.
      It is therefore ORDERED that the Recommended Decision of the Magistrate
Judge is hereby ADOPTED.      The defendant Med Pro’s motion to dismiss is
GRANTED and the plaintiff’s claims against it are DISMISSED.

      SO ORDERED.

      DATED THIS 29TH DAY OF DECEMBER, 2020

                                              /S/D. BROCK HORNBY
                                              D. BROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE
